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JUSTIN P. LEONARD, : UNITED STATES DISTRICT COURT
Plaintiff : MIDDLE DISTRICT OF PA
vs. : No.
PRECISION PIPELINB, LLC, : CIVIL ACTION - LAW
Defendant 3 JURY TRIAL DEMANDED
COMPLAINT
1. Plaintiff, Justin P. Leonard, is an adult individual residing at 58 Corey

Lane, Jersey Shore, Lycoming County, Pennsylvania.

2. Defendant, Precision Pipeline, LLC, upon information and belief is a
business organization having its principal place of business located at 314 Fifty-Sixth
Street, Eau Claire, Wisconsin, 54703.

3. Jurisdiction is based upon diversity of citizenship and the amount in
controversy is in excess of $75,000.00. Venue is based upon the cause of action arising
in the Middle District of Pennsylvania.

4. On October 10, 2015, Defendant owned and by its agent and employee,
controlled and operated the vehicle involved in the accident herein described

5. On that date, Defendant’s vehicle was being driven at a work site near PA
Route 154 and Lawrence Road, Wheelerville, Sullivan County, Pennsylvania.

6. Plaintiff, while in the employment of Fred Hamm, lnc. was checking to see
how much product was in the roll off container when Defendant’s employee/ agent
moved a container pinning Plaintiff between two containers

7. As a result of the aforementioned accident, the Plaintiff suffered severe,

and on information and belief, permanent injuries.

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8. Solely as a result of the aforementioned incident, the Plaintiff was forced
to incure medical bills and expenses for the injuries he suffered and, on information and
belief, will continue to incur medical expenses in the future.

9. On information and belief, solely as a result of the aforementioned
incident, the Plaintiff has suffered a severe loss of earnings and impairment of earning
capacity and, on information and belief, said loss of income and impairment of earning
capacity will continue in the future.

10. As a further additional result of the aforementioned accident, the Plaintiff
has undergone and, on information and belief, will continue to undergo great mental,
physical pain and suffering, mental anguish and humiliation, loss of life’s pleasures and
a severe limitation of pursuit of daily activities

11. The accident and the aforementioned damages and injuries sustained by
the Plaintiff was the sole, direct and proximate result of the negligence of the Defendant
in that its employee/agent

a) Operated the vehicle in a reckless manner and careless disregard for
the safety of others in violation of Section 3714 of the Pennsylvania Motor Vehicle Code;

b) Failed to give any warning of moving the containers ;

c) Failed to see and observe the Plaintiff;

d) Operated the vehicle without regard for the existence of pedestrians
at this site.

12. As a direct and proximate result of the aforementioned conduct, the

Plaintiff suffered injuries and damages as herein before stated.

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WHEREFORE, Plaintiff demands judgement in his favor in an amount of excess

of Seventy~Five Thousand ($75,000.00) Dollars.

Respectfully submitted,
Casale & Bonner, P.C.

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Nd rman M. Lubin, Esqui
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